 

Case 1:09-cr-03601-MV Document 40-1 Filed 01/03/12 Page 1 of 26

ATTACHMENT A —
 

Case 1:09-cr-03601-MV Document 40-1 Filed 01/03/12 Page 2 of 26
SECOND JUDICIAL DISTRICT COURT bere on

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- PSTN

COUNTY OF BERNALILLO 2006 JUN 19 AH Io: 29

STATE OF NEW MEXICO

 

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No. cos _— i
DAH: 2006-03176-1 tu
STN; 001060020419 oo
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STATE OF NEW MEXICO,
mater
' ' - mf CAM “
Plaintiff, iPAnes Fe
vs. —_
eco
NICHOLOUS PHILLIPS, coe
Defendant.

CRIMES CHARGED

AGGRAVATED ASSAULT (DEADLY WEAPON) (FIREARM ENHANCEMENT) ; RECEIVING
OR TRANSFERRING A STOLEN VEHICLE (POSSESSION) ; CONSPIRACY TO COMMIT
RECEIVING OR TRANSFERRING A STOLEN VEHICLE (POSSESSION) ; TAMPERING
WITH EVIDENCE

aoe GRAND JURY INDICTMENT

GRAND JURY thie

THE GRAND JURY CHARGES :

COUNT 1: AGGRAVATED ASSAULT (DEADLY WEAPON) (FIREARM
ENHANCEMENT ) :

That on or about the 374 day of June, 2006, in Bernalillo
County, New Mexico, the above-named defendant did assault or strike
at Joshua Dubois, with a handgun, which was a deadly weapon,
contrary to Section 30-3-2(A) and Section 31-18-16, NMSA 1978.

COUNT 2: RECEIVING OR TRANSFERRING A STOLEN VEHICLE
(POSSESSION)

That on or about the 37° day of June, 2006, in Bernalillo
County, New Mexico, the above-named defendant had possession of a
vehicle, a Honda belonging to Vinh Dang, which had been stolen, and
at the time the defendant had the vehicle in his possession he knew
or had reason to know that the vehicle had been stolen,

contrary to
Section 66-3-505, NMSA 1978.

CARLA LOPE?
 

 

Case 1:09-cr-03601-MV Document 40-1 Filed 01/03/12 Page 3 of 26

State vs. NICHOLOUS PHILLIPS

GRAND JURY INDICTMENT Page No. 2

COUNT 3: CONSPIRACY TO COMMIT RECEIVING OR TRANSFERRING A STOLEN
VEHICLE (POSSESSION)

That on or about the 3°¢ day of June, 2006, in Bernalillo County,
New Mexico, the above-named defendant and another by words or acts
agreed together to commit Receiving or Transferring a Stolen Vehicle
(Possession), and they intended to commit Receiving or Transferring a

Stolen Vehicle (Possession), contrary to Section 30-28-2 and Section
66-3-505, NMSA 1978.

COUNT 4: TAMPERING WITH EVIDENCE

That on or about the 3°¢ day of June, 2006, in Bernalillo County,
New Mexico, the above-named defendant placed and/or hid a handgun in
the brush with intent to prevent the apprehension, prosecution or
conviction of himself, contrary to Section 30-22-5, NMSA 1978.

The names of the witnesses upon whose testimony this Indictment

igs based are as follows: A. Provencher, APD

Joshua Dubois (w)

I hereby certify that the foregoing Indictment is a aeore
Bill. ,

APPROVED : Cui, av | \ CAAL 4

Foreman

For: david L. Waymire Date
Deputy District Attorney
 

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GRAND JURY INDICTMENT Page No. 3

CASE INFORMATION

IN

DA FILE#: 2006-03176-1
STN: 001060020419
MET.CT.#: CR 11543-06

LEA/RPT#: APD y,
DDA: David L. Waymire L-f. —
DOB: 5-5-79{ ee" : Z

SSH: XXX-XX-XXXX,-—~

ADD: 338 8°" St., Raton, NM 87740 and c/o, Metropolitan, Detention
Center (Pv Fold. Prom Yay Gi)

BOOKING/ARREST DATE: 130431166
DEF .ATTY: Public Defender

PHYSICAL DESCRIPTION OF DEFENDANT ;
Height: 6'14 Weight: 165

Race: White

Eye Color: Brown _

Hair Color: Brown

Other: mustache & goatee

tattoo: chinese lettering

tattoo: 1f arm - tribal

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Ho-OICSEOIOMY PRocumest 40-1 Filed 01/03/12 Page 5 of 26
ina 89: INDICTMENT vase No. ¢

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PENALTIES

COUNT 1: 4T# DEGREE FELONY (PLUS FIREARM ENHANCEMENT)
COUNTS 2 - 4: 4TH DEGREE FELONY

           

OLD AGE « HANDICAPPED ENHANCEMENT (OAE or HE):
year, unless great bodily harm ig inflicted,
increased by two (2) years,

Special Penalty:  (Recel i only) Basic Sentence of one
year and/or $5,000 fine,
Special Penalty: (Possession of Drug Paraphernalia

 
    

 
 

) Basic sentence: a fine

dollars nor more than one-hundred dollars or by im

 

(5th Offense): A qth degree, basic sentence of 2 years and
Mandatory jail term of not less than one year. (6th Offense) : a
and not more than $5,000 fine, including a Mandatory jail term of not less than 18 months. (7th or
Subsequent): a third degree, basic Sentence of 3 years and not more than $5,000 fine, including a
Mandatory jail term of two years

Penalty for Driving While Under the Influence - Misdemeanor: Tf 1st Offense, -ba

90 days jail and $500 fine, and :if aggravated an additional 4g hours jail time;
séntence ig Mandatory 72 hours in jail and

 

sic Sentence igs maximum
if 2nd Offense, basic
$1,000 fine, and if

 

days jail time,

Penalty for Driving While License Suspended or Revoked: A Misdemeanor, a basic sentence of 364,
Mandatory 7 days and fine up to $1,000 (non-DWI related Suspension/revocation) ; Or not less than 7
consecutive days imprisonment and Mandatory fine not less than $300 nor More than $1,000 (DWI
revocation).

Penalty for Reckless Driving: Upon first conviction, basic Sentence
imprisonment, and/or $25 to $100 fine, Upon a second or subsequent
days to six months imprisonment, and/or $50 to $1,000 fine,

Penalty for Traffic Code Misdemeanor; fine of. not more than $300 or
days or both,

Penalty Assessment Misdemeanor; See Schedule in Traffic Code,

 

of five days to ninety days
conviction, basic Sentence of ten

imprisonment for not more than 90

 

Section 66-8~-116,

   
  
 

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SECOND JUDICIAL DISTRICT COURT
COUNTY OF BERNALILLO On8T HAR ~6 py 3: 08
STATE OF NEW MEXICO

DA File No. 06-3176-01

STATE OF NEW MEXICO,

Plaintiff,
Vs.

NICHOLOUS PHILLIPS,
DOB: 5-5-795
SSN: XXX-XX-XXXX
STN: 001060020419
Defendant.

REPEAT OFFENDER PLEA AND DISPOSITION AGREEMENT

The State of New Mexico and the defendant agree to this disposition of this cause number:

PLEA
CHARGES: The defendant agrees to plead GUILTY to the following crimes:
ad. AGGRAVATED ASSAULT (DEADLY WEAPON) (FIREARM ENHANCEMENT)

[§30-3-2(A)], a fourth (4") degree felony offense committed on or about June 3, 2006, as charged
in Count 1 of CR 06-02643; and,

2. TAMPERING WITH EVIDENCE (§30-22-5), a fourth (4") degree felony offense
committed on or about June 3, 2006, as charged in Count 4 of CR 06-02643.

ADMISSION OF IDENTITY: The defendant admits that he was convicted of the
following crimes. The defendant also agrees that the convictions for these crimes are valid and
free from error.

la. On or about November 1, 2003, the defendant committed the felony of
POSSESSION OF A CONTROLLED SUBSTANCE, and was convicted on June 11, 2004, in-

Criminal Cause Number CR 04-00081, in the Eighth Judicial District Court, Colfax County,
New Mexico.

1b. On or about November 15, 2003, the defendant committed the felony of
TRAFFICKING, and was convicted on June 11, 2004, in Criminal Cause Number CR 04-00019,
in the Eighth Judicial District Court, Colfax County, New Mexico.

Thomas E. Kelley

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State v. Nicholous Phillips, CR 06-02643
Repeat Offender Plea and Disposition Agreement, Page 2

TERMS

This agreement is made according to the following conditions:

SENTENCING AGREEMENT: The State will not pursue Habitual Offender
enhancements at initial sentencing. The State reserves the ri ght to file Habitual Offender
proceedings in the future as described in the section of this document entitled “Habitual Offender
Proceedings”. The two counts shall run consecutively to each other at initial sentencing and for
all future proceedings. Upon completion of the mandatory sentence for the firearm enhancement,
the Defendant will be placed on three (3) years supervised probation. Conditions of probation
will include no contact with the victim. This cause number shall run concurrently to probation

violation cases currently pending in Colfax County. There are no other agreements as to

sentencing.

PENALTIES: The maximum penalties for these charges are:

1. AGGRAVATED ASSAULT (DEADLY WEAPON), a fourth (4") degree felony, with ~~
a basic sentence of up to eighteen (18) months imprisonment and a fine of up to $5,000, followed
by one (1) year of parole;

2. FIREARM ENHANCEMENT, enhancing any felony by a mandatory and consecutive
one (1) year of incarceration that cannot be suspended;

3. TAMPERING WITH EVIDENCE, a fourth (4") degree felony, with a basic sentence
of up to eighteen (18) months imprisonment and a fine of up to $5,000, followed by one (1) year

of parole.

4, SECOND HABITUAL OFFENDER, enhancing the basic sentence of any felony by

one (1) mandatory year.

Any basic sentence for a felony may be altered up to one-third for aggravating or
mitigating circumstances.

POTENTIAL INCARCERATION: If the court accepts this agreement, the defendant will
be ordered to serve a period of incarceration of one (1) year at the initial sentencing. The

Defendant will also be ordered to serve a three (3) year period of supervised probation. If the
 

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State v. Nicholous Phillips, CR 06-02643
Repeat Offender Plea and Disposition Agreement, Page 3

defendant later violates that probation, he may be incarcerated for the balance of the sentence,
and be subject to additional Habitual Offender proceedings, enhancing this sentence by two (2)
mandatory years, as outlined in this agreement under the section entitled “Habitual Offender
Proceedings”.

. CAP: Any “cap” or other limitation on incarceration shall be a limitation on
imprisonment only at initial sentencing. If the defendant violates any condition of parole or
probation, the court may sentence him to imprisonment without considering the limitation.

CHARGES TO BE DISMISSED: Counts 2 and 3 of CR 06-02643.

UNDISCLOSED PRIOR CONVICTIONS: The State may bring habitual offender
proceedings, as provided by law, based on any convictions not admitted in this plea. The State
may also choose to withdraw this plea agreement if it discovers any such convictions.

| HABITUAL OFFENDER PROCEEDINGS
UPON VIOLATION: The defendant understands that ifhe violates any law after he

enters this plea and before he completes hig geritence in this casé; he will be subject to habitual’ = °°" ~

offender proceedings based on the convictions listed under “Admission of Identity.” The State
also may bring habitual offender proceedings if the defendant violates any condition of probation
or parole. The State may bring Habitual offender proceedings if the violation is admitted or
proven, even if probation or parole is not revoked or the defendant is not convicted of the new
crime. The defendant agrees that the district attorney’s office or the court may inspect his
probation or parole records to determine whether he has violated the conditions of his probation
or parole.

PROOF: The State will use the defendant’s admission of identity to the prior felonies
convictions in any habitual offender proceedings. The defendant understands and agrees that the
admission alone will be sufficient proof that he is the person convicted of those felonies.

VALIDITY OF CONVICTIONS: The defendant agrees that the convictions listed under
“Admission of Identity” are valid and free from fundamental error. “Valid” means that the
defendant is the person who was convicted of the crimes and that the crimes were felonies. “Free

from fundamental error” means that the defendant’s constitutional rights, including the right to
 

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State v. Nicholous Phillips, CR 06-02643
Repeat Offender Plea and Disposition Agreement, Page 4

counsel, were not violated at the time convictions were obtained. The defendant waives any
collateral attack on the validity of each of the above felony convictions. The defendant agrees
not to contest the validity of the convictions if habitual offender proceedings are filed under the
terms of this agreement. If the defendant contests the validity of any of the convictions, the State
may choose to reinstate any charges dismissed or not filed as a result of this agreement. The
State may also remove any agreed to limitation on sentence.

RESTITUTION: Restitution will be ordered in accordance with Section 31-17-1 NMSA
1978, as amended to date. The defendant, in cooperation with the probation office, will prepare a
restitution plan to be incorporated into the Court’s sentence. The defendant agrees to make
restitution on all charges arising out of this district attorney file, even if those charges are
dismissed or not filed because of this agreement. The defendant agrees not to discharge this
restitution obligation in bankruptcy.

ee STIPULATIONS

TIME LIMITS: By entering this agreement with the State, the defendant waives his rights
under the rules governing time of commencement of trial until the agreement is either accepted
or rejected by the Court. .

WAIVER OF DEFENSES AND APPEAL: Unless this plea is rejected or withdrawn, the
defendant gives up all motions, defenses, objections, or requests which he has made or could
make concerning the Court’s entry of judgment against him if that judgment is consistent with
this agreement. The defendant specifically waives his right to appeal as long as the Court’s
sentence is imposed according to the terms of this agreement.

_ REJECTION OF PLEA: If the Court finds the provisions of this agreement unacceptable,
after reviewing it and any pre-sentence report, the Court will allow the withdrawal of the plea,
and this agreement will be void. If the plea is withdrawn, neither the plea nor any statements

arising out of the plea proceeding shall be admissible against the defendant in any criminal

proceedings.
 

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State v, Nicholous Phillips, CR 06-02643
Repeat Offender Plea and Disposition Agreement, Page 5

[have read and I understand this agreement. My lawyer has informed me of the specific
immigration consequences I face as a result of this plea agreement, and I understand that if I am
nota U.S. citizen, this plea agreement will affect my immigration or naturalization status. I have
discussed the case and my constitutional rights with my lawyer. I understand that when | plead
guilty I give up the following rights: my right to a trial by jury, my right to confront,
cross-examine, and compel the attendance of witnesses, and my privilege against
self-incrimination.

T agree that the State may void any sentencing agreement, including any cap on

incarceration, OR the State may withdraw this plea agreement if:

1) violate any laws while pending sentencing; OR

2) violate any condition of release; OR

3) fail to appear for the pre-sentence report interview as scheduled; OR

4) fail to appear for a scheduled court hearing, including but not limited to a

sentencing hearing; OR

5) fail to turn myself in to begin serving any period of incarceration as court ordered.

I understand that when I admit the validity of the prior convictions I give up my right to
collaterally attack these convictions in any proceeding. [ understand that by admitting my
identity on the prior convictions, I give up my privilege against self-incrimination if habitual
offender proceedings are filed in this case under this agreement.

I agree to enter my plea, and I admit that I am the person previously convicted of felonies
as s indicated above and according to the terms and conditions set forth in this agreement. J
understand that if the Court grants me probation, a suspended sentence, a deferred sentence or a

conditional discharge, the terms and conditions of the sentence are subject to modification if I

violate any of the terms or conditions imposed.

 

Date Defendant
 

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State v. Nicholous Phillips, CR 06-02643
Repeat Offender Plea and Disposition Agreement, Page 6

I have discussed this case with my client in detail and have advised him of his
constitutional rights and all possible defenses. I believe that the plea and disposition set forth

herein are appropriate under the facts of this case. I agree with the pe outlined in this

agreement and its terms and conditions. ”

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Date

 

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sheet Counset~ 4 Keren fandorsen

I have reviewed this matter and agree that the plea and disposition are appropriate and

in the interest of justice.

BLL ‘L LELDUMAO

Date Prosecutor

APPROVED: — - |
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District Judge

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Case 1:09-cr-03601-MV Document 40-1 Filed 01/03/12 Page 12 of 26

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SECOND JUDICIAL DISTRICT COURT

COUNTY OF BERNALILLO 700) HAR ~G AMI 35
STATE OF NEW MEXICO Ob Ob DG 43 -d 5

NO: cr Yolo 43. a Mrs te oats Ligand
STATE OF NEW MEXICO

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DEFENDANT’

DATE (Vi peop (ptt , 2007
GUILTY PLEA PROCEEDINGS
Plaintiff appearing by t fon Prsmusse f) , ADA and defendant

appearing personally and by his/her attorney Keen HeENDECLL _, before

the honorable Judge Albert S. Pat Murdoch, Division XIX.

 

(ybefendant Ae Plea ye Contest), (Nu C. VS. Alford), or

t
(_) PRE-SENTENCE REPORT ORDERED
(PLEA AND DISPOSITION AGREEMENT
( SGontENCING SET FOR TRO _, 2007 AT __ AM/PM
( )ROR OO - |
( ) ADMITS PRIORS

( ) REFERRED TO DRUG COURT

Other:

 

 

 
 

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SECOND JUTICIAL DISTRICT =U
SECOND JUDICIAL DISTRICT COURT . 3
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STATE OF NEW MEXICO !
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CRCR 06-02643 (DA 06-3176-01)

STATE OF NEW MEXICO,
Plaintiff,

VS.

NICHOLOUS PHILLIPS,
DOB: 5-5-1979
SSN: XXX-XX-XXXX
STN: 001060020419

ADD: 338 Eighth St.
Raton, NM 87740

Defendant.
JUDGMENT, PARTIALLY SUSPENDED SENTENCE, AND COMMITMENT

On March 6, 2007, this case came before the Honorable Albert S. “Pat” Murdoch, District

resented by hig attorney Keren

Judge, for sentencing. The State was represented by D’Ann Rasmussen, Assistant District
rese

Attorney. The Defendant appeared personally and was rep:
Fenderson. The Defendant had been convicted on March 6, 2007, pursuant to GUILTY pleas,

| accepted and recorded by the Court, of the offenses of:
1) AGGRAVATED ASSAULT (DEADLY WEAPON) (FIREARM ENHANCEMENT)

[§30-3-2(A) & §31-18-16), a fourth (4) degree felony offense committed on or about June 3,

2006, as charged in Count 1 of CR 06-02643;
2) TAMPERING WITH EVIDENCE (§30-22-5), a fourth (4") degree felony offense

committed on or about June 3, 2006, as charged in Count 4 of CR 06-02643.
The Defendant is hereby found and adjudged guilty and convicted of said crimes.
THEREFORE, the Defendant is hereby sentenced to the custody of the Department of
Corrections of the State of New Mexico to be imprisoned for the terms of |

1. EIGHTEEN (18) MONTHS for the basic sentence for Count 1, which shall be
enhanced by ONE (1) YEAR for the use of a firearm, for a total of TWO AND ONE-HALF (2

%) YEARS; and, |
2. EIGHTEEN (18) MONTHS for the basic sentence for Count 4.

DEANA ENGEL

 
 

 

 

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State v. Nicholous Phillips, CR 06-02643
Judgment, Partially Suspended Sentence, and Commitment, Page 2

The Counts shall run consecutively to one another for a total sentence of FOUR (4)
YEARS.

Execution of THREE (3) YEARS of said sentence is suspended and the Defendant is
placed on supervised probation for THREE (3) YEARS upon release, to run concurrent with his
parole term, with the following conditions:

1) obey all standard conditions of probation;

2) enter and successfully complete any level of supervision and any counseling deemed

appropriate by probation authorities;

3) obtain and maintain full-time employment, full-time schooling, or a combination of
both;

4) shall not have any contact with any victim named in the indictment;

5) shall not possess or consume any alcohol; .

6) submit a DNA sample and pay a DNA fee of one hundréd ($100) dollars; © °°

7) pay the Domestic Violence Fund fee of five ($5) dollars.

Probation costs of twenty-five ($25) dollars are to be assessed.

The Defendant shall submit to the STEPS program.

The one (1) year of incarceration shall be served in the Bernalillo County Metropolitan
Detention Center.

THEREFORE, You, the Bernalillo County Metropolitan Detention Center, are hereby
commanded to take the above-named Defendant in custody and confine him for the term of ONE

(1) YEAR.

This cause number shall run concurrently to any probation violation cases currently
pending in Colfax County, New Mexico.

Defendant is to receive credit for two hundred seventy-seven (277) days pre-sentence
confinement and for post-sentence confinement until delivery to the place of incarceration.

IT IS FURTHER ORDERED that the Defendant, if ever incarcerated in the Department

of Corrections on this cause number, be placed on parole for ONE (1) YEAR after release.
 

 

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State v. Nicholous Phillips, CR 06-02643
Judgment, Partially Suspended Sentence, and Commitment, Page 3

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Albert §. “Pat” Murdoch

 

 

District Judge
APPROVED:
Eiiicrdert 7 Approved via e-mail March 8, 2007
D’ Ann Rasmussen Keren Fenderson

Assistant District Attorney Counsel for the Defendant

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ATTACHMENT B
 

MV Document 40-1

RIGINA'

a Case 1:09-cr-03

  
 

EIGHTH JUDICIAL DISTRICT COURT
COUNTY OF COLFAX
STATE OF NEW MEXICO

NO, 07-7K cr

 

  

STATE OF NEW MEXICO,
Plaintiff,

VS.

NICKOLAUS PHILLIPS,
_ DOB: 05-05-79
SSN: XXX-XX-XXXX
Address: HCR 62 Box 85, Colorado Springs, CO 80907
Sex: Male
Height: 6'01" Weight: 165 Ibs,
Hair: Brown Eyes: Brown
Case Classification Code: CAP
State Tracking Number:
District Court Code Number: 30-03-08(B), 30-03-02(A), 30-07-16

AMENDMENT TO INFORMATION

COMES NOW, Leslie A. Fernandez, Deputy District Attorney, Eighth Judicial District, New Mexico, and says that on
or about the 31st day of March, 2007, in Colfax County, New Mexico, the above named defendant did:

COUNT 1: SHOOTING AT A MOTOR VEHICLE: That on ot about the 31st day of March, 2006, in Colfax County, New

Mexico, the above named defendant did willfully discharge a firearm at a motor vehicle which did not result in great bodily harm,
contrary to NMSA 1978, Section 30-03-08(B), a Fourth Degree Felony.

COUNT 2: SHOOTING FROM A MOTOR VEHICLE: That on or about the 31st day of March, 2006, in Colfax County, New

Mexico, the above named defendant did willfully discharge a firearm froma motor vehicle with reckless disregard for the person
of another, contrary to NMSA 1978, § 30-03-08(B), a Fourth Degree Felony.

COUNT 3: AGGRAVATED ASSAULT (deadly weapon): That on or about the 31st day of March, 2007, in Colfax County, New
Mexico, the above named defendant did unlawfully assault or strike at Susan Madrid, with a deadly weapon, to wit: a firearm,

contrary to NMSA 1978, § 30-03-02(A), a Fourth Degree Felony. It is further alleged that the defendant used a firearm in the
commission of this offense, contrary to NMSA 1978, § 31-18-16. :

COUNT 4: POSSESSION OF A FIREARM OR DESTRUCTIVE DEVICE BY A FELON: That on or about the 31st day of
March, 2006, in Colfax County, New Mexico, the above named defendant did receive, transport or possess a firearm or destructive

device after having been convicted of a felony in the preceding ten years, contrary to NMSA 1978, § 30-07-16, a Fourth Degree
Felony.

The preliminary hearing on the offense(s) set forth in the complaint, was waived

Colfase District attorney Office
Information
 

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WHEREFORE, she prays that said d defendant be oN on oe dnd dealt with according to law.

   

 

LESL a va ae
DEPUTY DISTRICT ATTORNEY
440 HERE

RATON, NEW MEXICO 87740

STATE OF NEW MEXICO )
) ss
COUNTY OF COLFAX )

   
  

Leslie A. Fernandez, being duly sworn upon oath states: Thg
contents thereof and that she verily believes the same to be true.

 

EZ
DISTRIC ATTORNEY

SUBSCRIBED AND SWORN to before me this A day of September, 2007.

fA Abo AS oh

NOTARY PUBLIC

My Commission Expires: June 7, 2010

i District Attorney Office

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QTK JUDICIAL DIST, COURT
COLFAX COUNTY, NM Q iv

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* Case 1:09-cr-036

Eo
EIGHTH JUDICIAL DISTRICT COURT | DIS
COUNTY OF COLFAX

STATE OF NEW MEXICO

No. 07-92 CR
STATE OF NEW MEXICO

Plaintiff,
vs

NICKOLAUS C. PHILLIPS,
DOB: 05-05-1979,
SSN: XXX-XX-XXXX,

Defendant.

PLEA AND DISPOSITION AGREEMENT
The State of New Mexico and the Defendant hereby agree to the following disposition of this case:
PLEA: The Defendant agrees to plead GUILTY to the following offenses:
1. SHOOTING AT A MOTOR VEHICLE, a fourth degree felony, as chatged in

Count 1 of the Information;

2. POSSESSION OF A FIREARM BY A FELON, a fourth degree felony, as charged

in Count 4 of the Information.

TERMS: This agreement is made subject to the following conditions:
1. Agreement as to sentence. That no mote severe than the following disposition will be made
of the charges: Sentencing is left to the Coutt’s disctetion. The State will recommend a

THREE YEAR suspended sentence, following his probation in 04-19CR and 05-18CR. The

 
   

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State will recommend Drug Court as the primary condition of probation if the defendant
remains in Colfax County.

2. Additional charges. The following charges will be dismissed with prejudice, or if not yet
filed, shall not be brought against the defendant: Counts 2 and 3. Habitual offender

proceedings held in abeyance, to be filed only if there is a proven probation violation during

supervision.
3, Restitution: None owing.
4, Effect on charging document, That this agreement, unless rejected or withdrawn, serves to

amend the complaint, indictment, ot information to charge the offense to which the defendant

pleads, without the filing of any additional pleading. If the plea is rejected or withdrawn, the

| original charges are automatically reinstated, |

5, Waiver of defenses and appeal. Unless this plea is rejected or withdrawn, the defendant gives
up any and all motions, defenses, objections or tequests which the defendant has made or
raised, or could have assert hereafter, to the coutt’s entry of judgment and imposition of a

sentence consistent with this agreement. The defendant waives the tight to appeal the

 

conviction that results from the entry of this plea agreement,

6. Withdrawal permitted if agreement rejected. Ifafter reviewing this agreement and any pre-
sentence report the court concludes that any of its provisions are unacceptable, the court will
allow the withdrawal of the plea, and this agreement will be void. If the plea is withdrawn,
neither the plea nor any statements arising out of the plea proceedings shall be admissible as
evidence against the defendant in any criminal proceedings,

Tunderstand that entry of this plea agreement may have an effect upon my immigration of naturalization
status,

T have read and understand the above. I have discussed the case and my constitutional rights with my
~tlawyer. I understand that by pleading guilty or no contest I will be giving up my right to a trial by jury, to
confront, cross-examine and compel the attendance of witnesses and my privilege against self-inctimination. I

Plea and Disposition Agreement P age 2 of 4

 
 

     

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understand that if the court grants me probation, a suspended sentence, a deferred sentence or a conditional

discharge, the terms and conditions thereof ate subject to modification in the event that I violate any of the terms
of conditions imposed.

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DEFENDANT

DEFENSE COUNSEL REVIEW

I have reviewed the plea and disposition agreement with my client. I have discussed this case

with my
client and I have advised my client of my client’s constitutional tights and possible defenses.

Talon Sz 4 let da

DATE DEFENSE COUNSEL C NAN wet

 

PROSECUTOR REVIEW

T have reviewed and approve this plea and disposition agreement

d\find that it is appropriate and
consistent with the best interests of justice.

         
    
 
 

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DISTRICT COURT APPROVAL
The defendant personally appearing before me and I have concluded as follows:
1. That the defendant understands the charges set forth in the Information.
2. That the defendant understands the range of possible sentences from a Conditional Discharge,
- Deferred or Suspended sentence with probation to up to EIGHTEEN (18 MONTHS in the

New Mexico Depattment of Cottections (plus up to an additional SIX (6) MONTHS if

aggravating circumstances are found), and/or up to a $ 5,000 fine and a mandatory ONE (1)
YEAR(S) on patole on each count.

3. That the defendant understands the following constitutional rights which the defendant gives
“ up by pleading guilty or no contest:

Plea and Disposition Agreement P age 3 of 4

 
 

 

     

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a. The right to trial by jury, if any;

b. The right to the assistance of an attorney at trial, and to an appointed

attorney, to be furnished free of charge if the defendant cannot afford one;

c. The tight to confront the witnesses against the defendant and to cross-examine
them as to the truthfulness of their testimony;

d. The right to present evidence on the defendant’s own behalf, and to have the
state compel the witnesses of the defendant’s choosing to appear and testify;

e.. The tight to remain silent and to be ptesumed innocent until proven guilty
beyond a reasonable doubt.

4. That the defendant wishes to give up the constitutional rights of which the defendant has been
advised.

5. That there exists a basis in fact for believing the defendant guilty of the offenses charged and
that an independent record for such factual basis has been made.

6. That the defendant and the prosecutor have entered into a plea agreement and that the
defendant understands and consents to its terms.

7. That the plea is voluntary and not the result of force, threats or promises other than a plea
agreement.

8. That under the circumstances, it is reasonable that the defendant plead guilty or no contest,

9. That the defendant understands that a conviction may have an effect upon the defendant's

 

immigration or naturalization status.

On the basis of these findings, I conclude that the defendant knowingly, voluntarily and intelligently pleads guilty

of no contest to the above charges and accept such plea. These findings shall be made a patt of the record in
the above-styled case.

Lt

DATE John M Paternoster, District Judge
Division I; 8" Judicial District

 

Plea and Disposition Agreement Page 4 of 4
 

    

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FILMU GY GF FICE
. 8TH JUDICIAL DIST, COURT
EIGHTH JUDICIAL DISTRICT COURT COLFAX COUNTYNM OH

Case 1:09-cr-036

COUNTY OF COLFAX .
STATE OF NEW MEXICO 2008 MAR 12 PM 1: 20
HERNABE P. STRUCHI

Now 07-92 CR CLERK OF THE
DISTRICT COURT

STATE OF NEW MEXICO

Plaintiff,
Vs

NICKOLAUS C. PHILLIPS,
DOB; 05-05-1979,

SSN: XXX-XX-XXXX,

Class Code: DPC
State Tracking Number: *
Defendant.

JUDGMENT AND SUSPENDED SENTENCE

THIS COURT having, on January 7, 2008, accepted and entered defendant's Plea of Guilty to the
charges of SHOOTING AT A MOTOR VEHICLE and POSSESSION OF A FIREARM BY A FELON,
as charged in Counts 1 and 4; the State having dismissed Counts 2 and 3; the matter having come before the
Court for sentencing on January 7, 2008, defendant being present in person and by his attorney, Ray A.
Floetsheim, the State appearing by and through its Deputy District Attorney, Leslie A. Fernandez, and
Defendant, through his counsel, having advised the Court there was no teason why sentence should not be
pronounced and having made a statement to the Court and the Court being now fully informed and advised in
the premises, it is

ORDERED AND ADJUDGED, that:

1. Defendant, Nickolaus Phillips, be, and he hereby stands, convicted, and is guilty of the crime
of Shooting at a Motor Vehicle, a fourth degree felony, as charged in Count 1 of the Information of 07-92 CR,
filed herein, in that on or about the 31* day of March, 2006, in Colfax County, New Mexico, the above-named

ok
defendant did willfully discharge a firearm at a motor vehicle which did not cause bodily harm, contrary to

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NMSA 1978 § 30-03-08(B).

 
 

     

Case 1:09-cr-036¢ MV Document 40-1 Filed 01/0 Page 24 of 26

2. Defendant, Nickolaus Phillips be, and he hereby stands, convicted, and is guilty of the crime
of Possession of a Firearm by a Felon, a fourth degree felony, as charged in Count 4 of the Information of
07-92. CR, filed herein, in that on or about the 31 day of Match, 2006, 2005, in Colfax County, New Mexico,
the above-named defendant did possess a fitearm after having been convicted of a felony in the preceding ten
yeats, contrary to NMSA 1978 § 30-07-16.

3, Defendant be, and he hereby is, on account of the ctime of Shooting at a Motor Vehicle, of
which he stands convicted, committed to the custody of the New Mexico Department of Cotrections, to be by
that department confined for a term of EIGHTEEN (18) MONTHS on Count 1 of 07-92 CR plus ONE (1)
YEAR parole.

4, Defendant be, and he hereby is, on account of the crime of Possession of a Fireatm by a
Felon, of which he stands convicted, committed to the custody of the New Mexico Department of Cottections,
to be by that department confined for a term of EIGHTEEN (18) MONTHS on Count 4 of 07-92 CR plus
ONE (1) YEAR parole.

5 The sentence herein above imposed for the crime of Possession of a Firearm by a Felon,
Count 4, be, and it hereby is, Ordered to run CONSECUTIVE to the sentence herein above imposed upon the
defendant for the ctime of Shooting at a Motor Vehicle, Count 1, for a total period of incarceration of
THREE (3) YEARS in the New Mexico Department of Corrections, plus ONE year parole.

6. Execution of the three (3) year sentence herein above imposed for the crimes above mentioned,
be, and it hereby is, SUSPENDED in its entirety. The sentence herein imposed upon the defendant shall run
CONSECUTIVE to the sentence imposed upon the defendant by this Court in Colfax County cause number
07-92 CR.

7. Accondition of the suspension of the execution of three (3) years of the above imposed sentences
shall be that Defendant be, and he hereby is, placed on supervised probation for a petiod of three (3) years.

Defendant shall be under the supervision, guidance and direction of the District Supervisor, ot his designee,

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under the following conditions: |

 
 

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h.

   

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The defendant shall abide by all normal terms of probation and shall obey all laws,
federal, state and local;

All conditions previously imposed upon defendant, not inconsistent with this Order,
in the Conditional Discharge Order of February 6, 2006 in 05-18 CR;

If the defendant remains in Colfax County for more than two weeks following this plea
heating, the defendant shall apply to, enroll in, and successfully complete the Colfax
County Drug Court program. If he is not accepted into Drug Court, he shall be
paneled by the Community Cotrections ptogram, and shall complete all contract
requirements;

The defendant shall pay the mandatory $100 DNA fee, and shall cooperate with
probation authorities in the collection of a DNA sample, and shall pay the domestic
violence $5.00 fee;

The defendant shall pay probation fees of $25.00 pet month;

The defendant shall not use ot possess alcohol or controlled substances and shall
subrnit to random urinalysis to detect such use; the defendant shall submit to searches
by his probation officer of his person, vehicle or residence upon reasonable suspicion
of such use; the defendant shall not enter or be found in any establishment whose
primary business is the sale of alcoholic beverages; the defendant shall undergo an
alcohol screening in the first forty five days of probation and shall follow any
recommended treatment or counseling;

The defendant shall not possess any deadly weapon while on probation;

The defendant shall participate in an assessment or screening for alcohol and/or
controlled substances and shall complete any recommended treatment or counseling;
The defendant shall have no contact with Aleen Martinez, April Sintas Milkovich,
Jefftey Gee, Dan Milkovich, and any other person, who in writing, is forbidden by the
Adult Probation Office;

The defendant shall seek and maintain full time employment or a full time education
schedule, and shall regularly report schedules of either to his probation officer;
Restitution of $ 563.00 to Susan Madrid shall be paid (from 07-92 CR) during this
probation period, according to a restitution schedule developed by the adult probation
office;

After March 5, 2008, if the Defendant’s travel has been allowed by the probation
office, the defendant shall not be found in Colfax County without written petmission
of the probation office, If his travel has not been allowed, the defendant shall remain
under all the terms set out in these conditions until his transfer;

The defendant, while in Colfax County, shall be in the company at all times of either
of his grandmothers, his father or his aunt Carmela Blouin;

The defendant shall undergo a psychiatric evaluation within the first forty five days of
probation, and shall follow any recommendations, including any tegimen of
medication. The evaluator shall be provided a copy of the sixty day diagnostic
evaluation from the Department of Corrections.

8. The sentence imposed upon the defendant for Shooting at a Motor Vehicle is a ‘serious violent

offense’ as defined by NMSA § 33-2-34(L)(4)(j), and shall be treated as such by the Department of Cotrections

under the Earned Meritorious Deduction Act.

 
 

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9. The District Supervisor, Eighth Judicial District, Division One, ot his designee, of the Field

Services Division of the New Mexico Corrections Department, be, and he hereby is, directed, following entry

of this Judgment, to cause to be served in person upon the defendant a true and correct copy of this Judgment,

and to take the written receipt therefor of the defendant.

10. Any bond furnished for or by the defendant be, and it hereby is, released to the person

furnishing said bond.

 

John M. Paternoster, District Judge
Division I; 8th Judicial District

 

Depy District Attorney

Noted and Approved:

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ea b. | uy La
Ray A. Floersheim
Attorney for Defendant

 
